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STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the following items included in the Plan.

0 Valuation of Security 0 Assumption of Executory Contract or unexpired Lease 0 Lien Avoidance

Last revised: November 14, 2023

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

In Re: Case No.: 24-16262
Robert Elliot Shanley, III

Judge: Kaplan
Debtor(s)
Chapter 13 Plan and Motions
Original [1 Modified/Notice Required Date:_July 26, 2024
CL) Motions Included [1 Modified/No Notice Required

THE DEBTOR HAS FILED FOR RELIEF UNDER
CHAPTER 13 OF THE BANKRUPTCY CODE

YOUR RIGHTS WILL BE AFFECTED

The Court issued a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the confirmation hearing on the
Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You should read these papers
carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan or any motion included in it
must file a written objection within the time frame stated in the Notice. Your rights may be affected by this plan. Your claim may be
reduced, modified, or eliminated. This Plan may be confirmed and become binding, and included motions may be granted without
further notice or hearing, unless written objection is filed before the deadline stated in the Notice. The Court may confirm this plan, if
there are no timely filed objections, without further notice. See Bankruptcy Rule 3015. If this plan includes motions to avoid or modify a
lien, the lien avoidance or modification may take place solely within the Chapter 13 confirmation process. The plan confirmation order
alone will avoid or modify the lien. The debtor need not file a separate motion or adversary proceeding to avoid or modify a lien based
on value of the collateral or to reduce the interest rate. An affected lien creditor who wishes to contest said treatment must file a timely
objection and appear at the confirmation hearing to prosecute same.

The following matters may be of particular importance. Debtors must check one box on each line to state whether the plan
includes each of the following items. If an item is checked as “Does Not” or if both boxes are checked, the provision will be
ineffective if set out later in the plan.

THIS PLAN:

CO] DOES & DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST ALSO BE SET FORTH
IN PART 10.

1 DOES & DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF COLLATERAL, WHICH MAY
RESULT IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE SECURED CREDITOR. SEE MOTIONS SET FORTH IN PART
7, IF ANY, AND SPECIFY: O7a/ O7b/ O7c.

C1 DOES & DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY SECURITY INTEREST. SEE
MOTIONS_SET FORTH IN PART 7, IF ANY, AND SPECIFY: 0 7a/ O 7b / O7c.

Initial Debtor(s)’ Attorney: } Initial Debtor:

Initial Co-Debtor:
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a. The debtor shall pay to the Chapter 13 Trustee $ 1500 monthly for ___60__ months starting on the
first of the month following the filing of the petition. (If tier payments are proposed) : and then $ per
month for months; $ per month for months, for a total of months.

b. The debtor shall make plan payments to the Trustee from the following sources:
QO Future earnings

& Other sources of funding (describe source, amount and date when funds are available):

Debtor shall make $27,500 quarterly payments starting in June 2026 and continuing each quarter for the remaining 36
months of the plan.

c. Use of real property to satisfy plan obligations:

0 Sale of real property
Description:

Proposed date for completion:

O Refinance of real property:
Description:
Proposed date for completion:

1 Loan modification with respect to mortgage encumbering real property:
Description:
Proposed date for completion:

d. 0 The regular monthly mortgage payment will continue pending the sale, refinance or loan modification. See also
Part 4.
CZ If a Creditor filed a claim for arrearages, the arrearages UO) will / 0 will not be paid by the Chapter 13

Trustee pending an Order approving sale, refinance, or loan modification of the real property.

e. For debtors filing joint petition:

ZC Debtors propose to have the within Chapter 13 Case jointly administered. If any party objects to joint
administration, an objection to confirmation must be timely filed. The objecting party must appear at

confirmation to prosecute their objection.

Initial Debtor: Initial Co-Debtor:
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a. Adequate protection payments will be made in the amount of $ to be paid to the Chapter 13
Trustee and disbursed pre-confirmation to (creditor). (Adequate protection payments
to be commenced upon order of the Court.)

b. Adequate protection payments will be made in the amount of $ 2906 to be paid directly by the
debtor(s), pre-confirmation to: TD Bank (creditor).

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a. All allowed priority claims will be paid in full unless the creditor agrees otherwise:

Name of Creditor Type of Priority Amount to be Paid
CHAPTER 13 STANDING TRUSTEE ADMINISTRATIVE AS ALLOWED BY STATUTE
ATTORNEY FEE BALANCE ADMINISTRATIVE BALANCE DUE: $ 3750

DOMESTIC SUPPORT OBLIGATION

Internal Revenue Service Taxes $ 303,291

NJ Division of Taxation Taxes $ 59,075

b. Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount:
Check one:
& None

C) The allowed priority claims listed below are based on a domestic support obligation that has been assigned
to or is owed to a governmental unit and will be paid less than the full amount of the claim pursuant to 11
U.S.C.1322(a)(4):

Name of Creditor Type of Priority Claim Amount Amount to be Paid

Domestic Support Obligations
assigned or owed to a
governmental unit and paid less
than full amount.

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a. Curing Default and Maintaining Payments on Principal Residence: X NONE
The Debtor will pay to the Trustee allowed claims for arrearages on monthly obligations and the

debtor shall pay directly to the creditor monthly obligations due after the bankruptcy filing as follows:

Name of Creditor

Collateral or Type of
Debt

(identify property and
add street address, if
applicable)

Arrearage

Interest
Rate on
Arrearage

Amount to be
Paid to Creditor
by Trustee

Regular Monthly
Payment Direct to
Creditor

Debtor shall pay the
regular monthly
payment pursuant to
the terms of the
underlying loan
documents unless
otherwise ordered.

b. Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears: Ki) NONE

The Debtor will pay to the Trustee allowed claims for arrearages on monthly obligations and the
debtor will pay directly to the creditor monthly obligations due after the bankruptcy filing as follows:

Name of Creditor

Collateral or Type of

Debt

(identify property and
add street address, if
applicable)

Arrearage

Interest
Rate on
Arrearage

Amount to be
Paid to
Creditor by
Trustee

Regular Monthly
Payment Direct to
Creditor

Debtor shall pay the
regular monthly
payment pursuant to
the terms of the
underlying loan
documents unless
otherwise ordered.

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c. Secured claims to be paid in full through the plan which are excluded from 11 U.S.C. 506: 3 NONE
The following claims were either incurred within 910 days before the petition date and are secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the debtor(s), or incurred within one year of the petition
date and secured by a purchase money security interest in any other thing of value:

Name of Creditor Collateral Interest Amount of Total to be Paid Including Interest
(identify property and Rate Claim Calculation by Trustee
add street address, if
applicable)

d. Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments & NONE
1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the
secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as stated.
The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured claim is
identified as having “NO VALUE” it shall be treated as an unsecured claim.

NOTE: A modification under this Section ALSO REQUIRES
the appropriate motion to be filed under Section 7 of the Plan.

Name of Collateral Scheduled Total Superior Liens | Value of Annual Total Amount
Creditor (identify Debt Collateral Creditor Interest } to be Paid by
property and Value Interest in Rate Trustee
add street Collateral
address, if
applicable)

2.) Where the Debtor retains collateral and completes all Plan payments, payment of the full amount of the allowed
secured claim shall discharge the corresponding lien.

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e. Surrender X NONE

Upon confirmation, the automatic stay is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and
that the stay under 11 U.S.C 1301 shall be terminated in all respects. The Debtor surrenders the following

collateral:

Name of Creditor

Collateral to be Surrendered (identify
property and add street address, if
applicable)

Value of Surrendered
Collateral

Remaining Unsecured
Debt

f. Secured Claims Unaffected by the Plan 0 NONE
The following secured claims are unaffected by the Plan:

Name of Creditor

Collateral (identify property and add street address, if applicable)

M&T Bank

125 Navesink Ave Middletown New Jersey

g. Secured Claims to be Paid in Full Through the Plan: kK NONE

Name of Creditor

Collateral (identify Amount
property and add street
address, if applicable)

Interest Total Amount to be Paid
Rate through the plan by Trustee

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a. Not separately classified allowed non-priority unsecured claims shall be paid:

C1 Not less than $

OC Not less than

percent

& Pro Rata distribution from any remaining funds

to be distributed pro rata

b. Separately classified unsecured claims shall be treated as follows:

Name of Creditor Basis For Separate Classification

Treatment

Amount to be Paid
by Trustee

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(NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of non-residential real property

leases in this Plan.)

All executory contracts and unexpired leases, not previously rejected by operation of law, are rejected, except the

following, which are assumed:

Name of Creditor | Arrears to be Cured
and paid by Trustee

Nature of Contract or
Lease

Treatment by Debtor

Post-Petition Payment
to be Paid Directly to
Creditor by Debtor

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NOTE: All plans containing motions must be served on all affected lienholders, together with local form, Notice of
Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1. A Certification of
Service, Notice of Chapter 13 Plan Transmittal, and valuation must be filed with the Clerk of Court when the plan
and transmittal notice are served

a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f). 0 NONE

The Debtor moves to avoid the following liens that impair exemptions:

Name of Nature of Type of Lien | Amountof | Value of Amount of Sum of All Amount of
Creditor Collateral Lien Collateral Claimed Other Liens Lien to be
(identify Exemption Against the Avoided
property Property
and add
street
address, if
applicable)

b. Motion to Avoid Liens and Reclassify Claim From Secured to Completely Unsecured. 0D NONE

The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with Part
4 above:

Name of Collateral Scheduled Total Superior Liens Value of Creditors | Total Amount of
Creditor (identify Debt Collateral Interest in Lien to be
property Value Collateral Reclassified
and add
street
address if

applicable)

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c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
Unsecured. 1) NONE

The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void liens on
collateral consistent with Part 4 above:

Name of Collateral Scheduled Total Collateral | Amount to be Deemed Amount to be Reclassified
Creditor (identify Debt Value Secured as Unsecured

property and
add street
address, if
applicable)

d. Where the Debtor retains collateral, upon completion of the Plan and issuance of the Discharge, affected Debtor
may take all steps necessary to remove of record any lien or portion of any lien discharged.

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a. Vesting of Property of the Estate
& Upon confirmation

1 Upon discharge

b. Payment Notices
Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the
Debtor notwithstanding the automatic stay.

c. Order of Distribution
The Trustee shall pay allowed claims in the following order:

1) Chapter 13 Standing Trustee Fees, upon receipt of funds
2) Administrative Claims

Secured Claims

wo

on

)
)

4) Priority Claims
)

6)

d. Post-Petition Claims

The Trustee C is, Xl is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section 1305(a) in the
amount filed by the post-petition claimant.

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NOTE: Modification of a plan does not require that a separate motion be filed. A modified plan must be served in
accordance with D.N.J. LBR 3015-2.

If this Plan modifies a Plan previously filed in this case, complete the information below.

Date of Plan being Modified:

Explain below why the plan is being modified:

Are Schedules | and J being filed simultaneously with this Modified Plan? L] Yes [] No

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Non-Standard Provisions:
NONE

C Explain here:

Any non-standard provisions placed elsewhere in this plan are ineffective.
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The Debtor(s) and the attorney for the Debtor (if any) must sign this Plan.

By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the debtor(s) certify
that the wording and order of the provisions in this Chapter 13 Plan are identical to Local Form, Chapter 13 Plan and
Motions.

| certify under penalty of perjury that the above is true.

Date: TEC: EY AME A a

Debtor .

Date:

Joint Debtor

Date:

Attorney for the Debtor(s)
